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12   TRACY L. WILKISON and KRISTI KOONS JOHNSON
     IN THEIR OFFICIAL CAPACITY ONLY
13
                             UNITED STATES DISTRICT COURT
14
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                   WESTERN DIVISION
16
   DONALD LEO MELLEIN AND                      Case No. 2:21-cv-06588-RGK-MAR
17 PAULA MARGARITA VILLEGAS DE
   MELLEIN,                                    DEFENDANTS’ NOTICE OF MOTION
18                                             AND MOTION TO DISMISS THE
            Plaintiff,                         COMPLAINT FOR LACK OF
19                                             SUBJECT MATTER JURISDICTION
                   v.                          AND FAILURE TO STATE A CLAIM
20                                             UPON WHICH RELIEF CAN BE
   UNITED STATES OF AMERICA, ET                GRANTED PURSUANT TO FED. R.
21 AL.,                                        CIV. P. 12(b)(1) AND 12(b)(6);
                                               MEMORANDUM OF POINTS AND
22             Defendants.                     AUTHORITIES AND
                                               DECLARATIONS OF LYNNE
23                                             ZELLHART, DEBORAH A. CRUM
                                               AND VICTOR A. RODGERS;
24                                             [PROPOSED] ORDER GRANTING
                                               MOTION LODGED UNDER
25                                             SEPARATE COVER
26                                             Date:      January 18, 2022
                                               Time:      9:00 a.m.
27                                             Courtroom: 850, the Honorable
                                                          R. Gary Klausner
28
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 1                                    NOTICE OF MOTION
 2         PLEASE TAKE NOTICE that on January 18, 2022 at 9:00 a.m., or as soon
 3   thereafter as the matter may be heard, in the courtroom of the Honorable R. Gary
 4   Klausner, United States District Court, Courtroom 850, Roybal Federal Building and
 5   U.S. Courthouse, 255 East Temple Street, Los Angeles, California 90012, defendants
 6   United States of America and Tracy L. Wilkison and Kristi Koons Johnson in their
 7   official capacity only (collectively, “the government”) will and hereby do move,
 8   pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6), to dismiss the complaint for lack of
 9   subject matter jurisdiction and for failure to state a claim upon which relief can be
10   granted. This Motion is made following the conference of counsel pursuant to Local
11   Rule 7-3 (see Rodgers Decl. ¶ 2), and is made on the grounds that there is no subject
12   matter jurisdiction over this action and plaintiffs’ complaint fails to state a claim upon
13   which relief can be granted.
14         This motion is based upon this notice of motion and motion; the attached
15   memorandum of points and authorities and declarations of Lynne Zellhart, Deborah A.
16   Crum and Victor A. Rodgers; the proposed order granting the motion (lodged under
17   separate cover); all pleadings and papers on file in this action; and such further matters
18   as may be presented at any hearing on this Motion, and matters of which the Court may
19   take notice.
20   Dated: December 2, 2021                        Respectfully submitted,
21                                                  TRACY L. WILKISON
                                                    United States Attorney
22                                                  SCOTT M. GARRINGER
                                                    Assistant United States Attorney
23                                                  Chief, Criminal Division
24                                                        /s/             ______________
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28
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2                                                I.
 3                                       INTRODUCTION
 4         Defendants United States of America and Tracy L. Wilkison and Kristi Koons
 5   Johnson in their official capacities only (collectively, “the government”) respectfully
 6   submit this memorandum of points and authorities in support of their motion pursuant to
 7   Fed. R. Civ. P. 12(b)(1) and 12(b)(6) to dismiss the complaint for lack of subject matter
 8   jurisdiction and failure to state a claim upon which relief can be granted. For the reasons
 9   set forth below and any additional reasons contained in this brief, plaintiffs’ complaint
10   should be dismissed as to the government with respect to the three causes of action that
11   pertain to the government in plaintiffs’ four cause of action complaint. 1
12         First, plaintiffs’ first cause of action is brought pursuant to Fed. R. Crim. P. 41(g)
13   for return of property seized by the government. However, this cause of action is barred
14   because the government does not have (and never had) the property plaintiffs seek to
15   have returned and monetary damages for the value of the property plaintiffs allege the
16   government seized and is missing or lost cannot be recovered pursuant to a Fed. R. Crim.
17   P. 41(g) claim. Accordingly, subject matter jurisdiction does not lie over plaintiffs’ first
18   cause of action.
19         Second, plaintiffs’ second cause of action under the Federal Torts Claims Act is
20   barred because plaintiffs have failed to exhaust their administrative remedies by filing an
21   administrative tort claim with the appropriate federal agency (i.e., the Federal Bureau of
22   Administration) for the property plaintiffs’ contend the government lost or is missing,
23   and the federal agency therefore has not issued any final decision on any such
24   administrative tort claim because none has been submitted. Plaintiffs’ failure to exhaust
25         1
              Plaintiffs’ Bivens claim in their third cause of action is against defendants Kristi
26   Koons Johnson and Lynne Zellhart in their individual capacities. The instant motion is
     not filed as to the Bivens claim on behalf of those defendants in their individual
27   capacities, as they are represented in that capacity on the Bivens claim by another
     component of the Department of Justice that will be separately filing a motion to dismiss
28   as to the Bivens cause of action.
                                                   1
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 1   their administrative remedies before filing their Federal Tort Claims Act cause of action
 2   shows that subject matter jurisdiction does not lie relative to plaintiffs’ claim.
 3          Third, plaintiffs’ fourth cause of action, which seeks an order pursuant to Fed. R.
 4   Crim. P. 41 requiring the government to disclose any inventory of the items seized from
 5   plaintiffs’ safe deposit box at US Private Vaults fails to state a claim upon which relief
 6   can be granted because (i) plaintiffs cause of action for an order disclosing an inventory
 7   is a remedy and not a stand-alone cause of action; and (ii) Fed. R. Civ. P. 41’s inventory
 8   requirement applies to search warrants (including how they are obtained and executed)
 9   and not inventories, which are an administrative function involving the inventory
10   process. Accordingly, plaintiffs’ fourth cause of action, and the complaint against “the
11   government” (as defined herein) in its entirety, should be dismissed.
12                                                II.
13                                   STATEMENT OF FACTS
14         Plaintiffs Donald Leo Mellein and Paula Margarita Villegas De Mellein
15   (collectively, “plaintiffs”) have filed a four cause of action complaint, alleging the
16   following. On or about March 22, 2021, the government seized four items, consisting
17   of $57,434.61 in U.S. currency, one gold bar, miscellaneous papers and 110 one-ounce
18   gold coins (i.e., 30 Canadian maple leaf gold coins and 80 American Eagle gold coins)
19   from plaintiffs’ safe deposit box number 224 at US Private Vaults (“USPV”) in Beverly
20   Hills, California. Docket No. 1 (complaint ¶ 25 at 8:5-8 and ¶ 35 at 10:15-16). On June
21   1, 2021, the government agreed to return box number 224’s contents to plaintiffs (id. at
22   ¶ 39 at 11:6-9), and on June 14, 2021, the Federal Bureau of Investigation (the “FBI”)
23   returned to plaintiffs’ counsel one gold bar and miscellaneous paperwork, as reflected on
24   the FBI’s Receipt for Property returned (id. at ¶ 1 at 3:9-10, ¶ 40 at 11:16-17 and docket
25   no. 1-4 [Lieser Decl. Ex. B]. The receipt, on its face, shows that “One Gold-colored bar”
26   (i.e., the one gold bar mentioned above) and “Identifying documents” (i.e., the
27   miscellaneous papers mentioned above) were returned to “Attorney for Donald Mellein”
28   (i.e., plaintiffs’ attorneys) on June 14, 2021. Docket No. 1-4 (Lieser Decl. Ex. B).
                                                   2
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 1   Accordingly, the other two items mentioned above are the $57,434.61 in U.S. currency,
 2   for which plaintiffs do not seek the return thereof in this lawsuit, and the 110 gold coins.
 3         By this lawsuit, plaintiffs seek the return of 110 gold coins, which plaintiffs allege
 4   the FBI has not returned and are missing and lost, and for which plaintiffs first advised
 5   the government consisted of 120 and not 110 gold coins. Complaint ¶ 3 at 3:24-25, ¶ 41
 6   at 11:20-21 and page 11, footnote 2 and Docket Nos. 1-2 and 1-6 (Lieser Decl. ¶ 5 and
 7   Ex. D). Plaintiffs allege four causes of action in their complaint, three of which
 8   (consisting of plaintiffs first, second and fourth causes of action) pertain to the
 9   government (as defined herein) and are the subject of the instant motion. Plaintiffs’ first
10   cause of action pursuant to Fed. R. Crim. P. 41(g) (“Rule 41(g)”) for return of property
11   alleges violations of the Fourth and Fifth Amendments arising from the government’s
12   allegedly unlawful search and seizure of the property inside safe deposit box number 224
13   and seeks the return of 110 gold coins. Docket No. 1 (complaint ¶¶ 4, 25, 35, 40, 50, 81-
14   84 and prayer for relief ¶ A). Plaintiffs’ second cause of action pursuant to the Federal
15   Tort Claims Act (the “FTCA”) and based on California conversion law is for the return
16   of property (i.e., the 110 gold coins) or an amount equal to the value of the coins. Id. at
17   ¶¶ 4, 56, 57 and 85-88. Finally, plaintiffs’ fourth cause of action seeks an order
18   requiring the government to provide plaintiffs, pursuant to Fed. R. Crim. P. 41(f)(1)(D),
19   with a copy of any inventory the government has of plaintiffs’ property taken from box
20   number 224. Id. at ¶¶ 4, 25 and 96-98.
21         The FBI possesses 47 (and not 110) gold coins seized from box number 224,
22   which is all the gold coins it seized from plaintiffs’ safe deposit box, and the FBI is in
23   the process of returning those 47 coins. Zellhart Decl. ¶ 2. Accordingly, the remaining
24   coins that are the subject matter of plaintiffs’ complaint total 63 (i.e., 110 minus 47).
25   Plaintiffs have not filed an administrative tort claim with the FBI regarding the allegedly
26   missing gold coins (Crum Decl. ¶¶ 4-8), which is required under the FTCA as a
27   prerequisite for bringing their FTCA claim under their second cause of action, as
28   discussed below.
                                                   3
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 1                                                III.
 2                                          ARGUMENT
 3         A.     The Standards For Motions To Dismiss Under Fed. R. Civ. P. 12 For
 4                Lack of Subject Matter Jurisdiction And Failure To State A Claim
 5                Upon Which Relief Can Be Granted.
 6         Federal courts should not adjudicate controversies where subject matter
 7   jurisdiction is lacking because they “have only the power that is authorized by Article III
 8   of the Constitution and the statutes enacted by Congress pursuant thereto.” Bender v.
 9   Williamsport Area School Dist., 475 U.S. 534, 541 (1986) (citation omitted). As courts
10   of limited jurisdiction, the presumption is that a court is “without jurisdiction unless the
11   contrary appears affirmatively from the record.” Id. at 546 (internal quotes and citations
12   omitted). The burden of establishing subject matter jurisdiction rests upon the party
13   invoking it [DaimlerChrysler Corp. v. Cuno, 547 U.S. 332, 342 n.3 (2006)] and “the
14   court is under a continuing duty to dismiss an action whenever it appears that the court
15   lacks jurisdiction.” Billingsley v. C.I.R., 868 F.2d 1081, 1085 (9th Cir. 1989) (internal
16   quotes and citation omitted); see also Fed. R. Civ. P. 12(h)(3).
17         Fed. R. Civ. P. 12(b)(1) subject matter jurisdiction attacks can be either facial or
18   factual. White v. Lee, 227 F.3d 1214, 1242 (9th Cir. 2000). In “a facial attack, the
19   challenger asserts that the allegations contained in a complaint are insufficient on their
20   face to invoke federal jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035,
21   1039 (9th Cir. 2004). Conversely, in a factual attack “[n]o presumptive truthfulness
22   attaches to plaintiff’s [complaint’s] allegations” [Thornhill Pub. v. General Tel. and
23   Electronics Corp., 594 F.2d 730, 733 (9th Cir. 1979) (internal quotes and citation
24   omitted)], “the district court may review evidence beyond the complaint without
25   converting the motion to dismiss into a motion for summary judgment” [Safe Air for
26   Everyone, 373 F.3d at 1039 (citation omitted)], and courts may weigh the extrinsic
27   evidence in determining whether the facts show that a plaintiff has discharged plaintiff’s
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 1   burden of demonstrating that subject matter jurisdiction exists [Roberts v. Corrothers,
 2   812 F.2d 1173, 1177-78 (9th Cir. 1987)].
 3         Courts should grant a Fed. R. Civ. P. 12(b)(6) motion to dismiss for failure to state
 4   a claim upon which relief can be granted when a complaint fails to allege a cognizable
 5   legal theory or sufficient factual support for a legal theory. Caltex Plastics, Inc. v.
 6   Lockheed Martin Corp., 824 F.3d 1156, 1159 (9th Cir. 2016). Fed. R. Civ. P. 12(b)(6)
 7   “authorizes a court to dismiss a claim on the basis of a dispositive issue of law.” Seismic
 8   Reservoir 2020, Inc. v. Paulsson, 785 F.3d 330, 335 (9th Cir. 2015) (internal quotes and
 9   citation omitted). Also, a complaint must set forth “enough facts to state a claim for
10   relief that is plausible on its face” to defeat the motion. Bell Atlantic Corp. v. Twombly,
11   550 U.S. 544, 570 (2007). On the motion, courts accept as true the well-pleaded
12   material factual allegations of a complaint but need not accept as true conclusory
13   allegations, unwarranted factual deductions, unreasonable inferences or legal
14   characterizations. Bell Atlantic Corp., 550 U.S. at 555; Warren v. Fox Family
15   Worldwide, Inc., 328 F.3d 1136, 1139 (9th Cir. 2003). Moreover, courts may consider
16   documents attached to or mentioned in a complaint and matters subject to judicial notice
17   without converting the motion into a motion for summary judgment. Massey v. Ojaniit,
18   759 F.3d 343, 347-48 (4th Cir. 2014); Von Saher v. Norton Simon Museum of Art at
19   Pasadena, 592 F.3d 954, 960 (9th Cir. 2010). In addition, in ruling on a Fed. R. Civ. P.
20   12(b)(6) motion to dismiss, “[t]he court need not, however, accept as true allegations that
21   contradict matters properly subject to judicial notice or by exhibit.” Sprewell v. Golden
22   State Warriors, 266 F.3d 979, 988 (9th Cir. 2001). Accord, Thompson v. Illinois Dept.
23   of Professional Regulation, 300 F.3d 370, 377 (7th Cir. 2004) (when complaint exhibit
24   contradicts the complaint, “the exhibit trumps the allegations” of the complaint on a Fed.
25   R. Civ. P. 12(b)(6) motion) (emphasis in original).
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 1         B.       Plaintiffs’ First Cause of Action For Return Of Property Pursuant To
 2                  Rule 41(g) Should Be Dismissed Because Rule 41(g) Cannot Be Used To
 3                  Recover Property The Government Does Not Possess.
 4         The government is returning to plaintiffs the remaining items, namely 47 gold
 5   coins, that it seized, and accordingly the action is moot as to that those coins. See
 6   Section IIIC below. As to any additional coins, which items the government does not
 7   possess and plaintiffs’ complaint alleges total 63 (i.e., 110 minus 47), a Rule 41(g) claim
 8   is improper. Rule 41(g) does not waive sovereign immunity to allow suits for monetary
 9   damages for property the government does not have, and any claim for
10   missing/lost/stolen property must be brought under the FTCA, 28 U.S.C. § 2671 et seq.,
11   for monetary damages. 2 Accordingly, plaintiffs’ first cause of action, which by its
12   explicit terms is “for Return of Property Pursuant to FRCP § [sic] 41(g)[,]” should be
13   dismissed. 3
14         “It is axiomatic that the United States may not be sued without its consent and that
15   the existence of consent is a prerequisite for jurisdiction.” Jachetta v. United States, 653
16   F.3d 898, 903 (9th Cir. 2011) (internal quotation marks and citation omitted). Thus,
17   “[i]n an action against the United States, in addition to statutory authority granting
18   subject matter jurisdiction, there must be a waiver of sovereign immunity.” Arford v.
19
20         2
             In section IIID below, the government discusses plaintiffs’ second cause of
     action brought under the FTCA.
21
           3
              Because plaintiffs seek the return of property in their first cause of action
22   pursuant to Rule 41(g), plaintiffs seek to invoke the Court’s equitable jurisdiction. Rule
     41(g) motions/complaints are only appropriate where the return of property is sought and
23   no criminal or civil forfeiture action has been filed. See United States v. $8,850, 461
     U.S. 555, 569-70 (1983). Because such a movant has no other available forum to
24   address the grievance, Rule 41(g) motions are treated as equitable civil actions. United
     States v. Martinson, 809 F.2d 1364, 1367 (9th Cir. 1987). The Ninth Circuit has
25   recognized that a district court’s invocation of equitable jurisdiction to hear a Rule 41(g)
     request for return of property should be exercised with caution and restraint. Ramsden v.
26   United States, 2 F.3d 322, 324 (9th Cir. 1993). It is a fundamental principle of equitable
     jurisdiction that if an adequate remedy at law exists, equitable relief is unavailable.
27   United States v. Elias, 921 F.2d 870, 875 (9th Cir. 1990); United States v. U.S.
     Currency, $83,170.78, 851 F.2d 1231, 1235 (9th Cir. 1988).
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 1   United States, 934 F.2d 229, 231 (9th Cir. 1991). That waiver “cannot be implied, but
 2   must be unequivocally expressed in statutory text.” Jachetta, 653 F.3d at 903 (internal
 3   quotation marks and citation omitted).
 4         The government cannot return property it does not possess and a plaintiff is barred
 5   from seeking monetary damages under Rule 41(g). Ordonez v. United States, 680 F.3d
 6   1135, 1137–40 (9th Cir. 2012) (“No matter how compelling the circumstances, because
 7   Rule 41(g) contains no express and unequivocal waiver of the government’s sovereign
 8   immunity, money damages are not a permitted form of relief”); see also United States v.
 9   Eames, 524 F. App'x 320 (9th Cir. 2013) (vacating district court’s award of money
10   damages and remanding with instructions to dismiss Rule 41(g) movant’s claim for
11   compensation for lost coins); Bailey v. United States, 508 F.3d 736, 740 (5th Cir. 2007)
12   (if the government no longer possesses the seized cash, “[claimant’s] motion must be
13   denied because the government cannot return property it does not possess, and the
14   doctrine of sovereign immunity bars the award of monetary damages under Rule 41(g)”).
15         While Rule 41(g) is a vehicle for seeking the return of property, it “does not waive
16   the sovereign immunity of the United States with respect to actions for money damages
17   relating to such property.” Adeleke v. United States, 355 F.3d 144, 151 (2d Cir. 2004);
18   Diaz v. United States, 517 F.3d 608, 613 (2d Cir. 2008) (in Rule 41(g) cases, “[o]nce
19   seized currency has been disbursed and is no longer available . . . a claim for its return is
20   . . . no longer at hand: such claims are jurisdictionally barred by the principle of
21   sovereign immunity”); Kahn v. United States, 2009 WL 2900249 at *3 (S.D.N.Y. Sept.
22   8, 2009) (where, as here, “property is not available for return for whatever reason, the
23   aggrieved party cannot obtain monetary damages against the United States”) (internal
24   quotes and citation omitted); Search and Seizure of Box No. 8309 at U.S. Private Vaults
25   v. United States of America, Case No. 2:21-cv-03554-RGK-MAR, Docket No. 28 (order
26   re motion to dismiss) at page 5, footnote 1.
27   ///
28   ///
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 1         In Eames, the Ninth Circuit held that the district court erred when it ordered the
 2   government to make payment for the loss of gold coins seized during the course of an
 3   investigation into the Rule 41(g) movant’s money laundering and related crimes. 524 F.
 4   App’x at 320. The Ninth Circuit held that the district court should have denied a Rule
 5   41(g) motion for the return of gold coins in its entirety because the government admitted
 6   that it misplaced four gold coins that it had seized, and the district court lacked
 7   jurisdiction to order payment of money damages because sovereign immunity bars an
 8   award of money damages against the government on a motion to recover property under
 9   Rule 41(g). Id. (citing Ordonez, 680 F.3d at 1139-40).
10         Accordingly, subject matter jurisdiction does not lie over plaintiffs’ first cause of
11   action due to sovereign immunity. The government respectively requests that the first
12   cause of action, therefore, be dismissed.
13         C.     Plaintiffs Cannot Satisfy Article III’s Case Or Controversy
14                Requirement Relative To The Items (Namely, 47 Gold Coins) That Are
15                In the Process Of Being Returned Because This Matter Is Moot As To
16                That Property.
17         As mentioned above, plaintiffs allege that 110 gold coins were within their USPV
18   box. However, the government only seized and only possesses 47 gold coins from that
19   box and the FBI is in the process of returning them. Zellhart Decl. ¶ 2. With respect to
20   those 47 coins that are being returned, plaintiffs cannot satisfy Article III’s Case or
21   Controversy requirement.
22          In order to have standing to sue, Article III requires that a plaintiff “suffer[] an
23   injury in fact – an invasion of a legally protected interest which is (a) concrete and
24   particularized . . . and (b) actual or imminent, not conjectural or hypothetical.” Lujan v.
25   Defenders of Wildlife, 504 U.S. 555, 560 (1992) (internal quotes and citations omitted).
26   The “case or controversy” requirement in Article III mandates that issues be “definite
27   and concrete, not hypothetical or abstract,” before federal courts may exercise
28   jurisdiction over them. Railway Mail Ass'n v. Corsi, 326 U.S. 88, 93 (1945).
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 1         Article III of the Constitution limits the jurisdiction of federal courts to actual
 2   cases and controversies, and an action is rendered moot when the issues are no longer
 3   live or the party lacks a legally cognizable interest in the outcome. Headwaters Inv. v.
 4   Bureau of Land Management, 893 F.2d 1012, 1015 (9th Cir. 1989). Courts lack
 5   jurisdiction over claims for which no effective relief can be granted. Aguirre v. S.S.
 6   Sohio Intrepid, 801 F.2d 1185, 1189 (9th Cir. 1986). “Where the question sought to be
 7   adjudicated has been mooted by developments subsequent to the filing of the complaint,
 8   no justiciable controversy is presented.” Id. (citation omitted).
 9         As to the 47 gold coins in the government’s possession, which is a part of the
10   subject matter of plaintiffs Rule 41(g) cause of action that seeks the return of 110 gold
11   coins, those 47 gold coins are in the process of being returned. Accordingly, Article III
12   standing and subject matter jurisdiction is lacking and, as a result, plaintiffs’ causes of
13   action should be dismissed as moot relative to the 47 gold coins.
14         D.      Plaintiffs’ Second Cause Of Action Pursuant To The FTCA For Return
15                 Of Property Or Damages For The Allegedly Lost, Missing Or
16                 Converted Property Should Be Dismissed For Lack Of Subject Matter
17                 Jurisdiction Because Plaintiffs Have Not Exhausted Their
18                 Administrative Remedies.
19         Plaintiffs’ second cause of action is “for return of property or damages in an
20   amount equal to the value of the property pursuant to 28 U.S.C. §§ 1346, 2647 (sic) 4 and
21   CHoPP Computer Corp., 5 F.3d 1344 (9th Cir. 1993),”5 and provides it is asserted
22   against “Koons Johnson individually” and “Zellhart” who has only been sued in her
23
24
25         4
               28 U.S.C. § 2647 has been repealed.
26         5
             CHoPP Computer Corp. v. United States, 5 F.3d 1344, 1347 (9th Cir 1993),
     holds that conversion claims can be brought against the United States pursuant to the
27   FTCA (assuming that sovereign immunity otherwise exists), meaning that plaintiffs must
     comply with the FTCA’s requirements relative to asserting their conversion claim.
28
                                                     9
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 1   individual capacity.6 Complaint at 27:1-5. Because plaintiffs’ complaint does not allege
 2   that they exhausted their administrative remedy before filing their FTCA second cause of
 3   action, the government has proffered evidence that plaintiffs have not exhausted their
 4   administrative remedies before filing their FTCA cause of action (Crum Decl. ¶¶ 4-8)
 5   and the exhaustion requirement relative to a FTCA cause of action is jurisdictional,
 6   subject matter jurisdiction does not lie over plaintiffs second cause of action under the
 7   FTCA.
 8         The FTCA waives the sovereign immunity of the United States for certain tort
 9   actions asserted against the United States. 28 U.S.C. § 1346(b). However, before filing
10   a FTCA action in federal court, a plaintiff must first seek an administrative resolution of
11   plaintiff’s claim, by first filing an administrative tort claim with the administrative
12   agency (here, for the missing coins with the FBI) and the agency must have denied the
13   administrative tort claim, before plaintiffs are entitled to file a FTCA claim in federal
14   court. 28 U.S.C. § 2675(a) provides:
15         An action shall not be instituted upon a claim against the United States for
16         money damages for injury or loss of property or personal injury or death
17         caused by the negligent or wrongful act or omission of any employee of the
18         Government while acting within the scope of his office or employment,
19         unless the claimant shall have first presented the claim to the appropriate
20         Federal agency and his claim shall have been finally denied by the agency in
21         writing and sent by certified or registered mail. The failure of an agency to
22         make final disposition of a claim within six months after it is filed shall, at
23         6
              28 U.S.C. § 1346(b)(1) waives sovereign immunity on certain tort claims
24   “against the United States, for money damages . . . for injury or loss of property . . .
     caused by the negligent or wrongful act or omission of any employee of the Government
25   . . .” The statute does not waive sovereign immunity as to tort claims against
     government employees, such as Kristi Koons Johnson and Lynne Zellhart, sued in their
26   individual capacity. Accordingly, plaintiffs second cause of action, to the extent asserted
     against the individual defendants, is barred on that ground alone for lack of subject
27   matter jurisdiction. Nonetheless, the individual defendants, whom are represented by a
     different component of the Department of Justice, will be filing a motion to substitute the
28   United States in place of the individual defendants under the Westfall Act, 28 U.S.C.
     § 2679(d)(1).
                                                  10
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 1         the option of the claimant any time thereafter, be deemed a final denial of the
 2         claim for purposes of this section.
 3   (Emphasis added).
 4         If a person, such as plaintiffs here, files a lawsuit under the FTCA before filing an
 5   administrative tort claim with a federal agency that the federal agency has denied, the
 6   action is premature and must be dismissed for lack of subject matter jurisdiction.
 7   Plaintiffs’ complaint, which does not allege plaintiffs exhausted their administrative
 8   remedies by sending a missing property administrative tort claim to the FBI and that the
 9   FBI denied the administrative tort claim, is insufficient to establish subject matter
10   jurisdiction, particularly where the government has offered evidence that no
11   administrative tort claim has even been submitted by plaintiffs. Crum Decl. ¶¶ 4-8.
12   McNeil v. United States, 508 U.S. 106, 111 (1993) (affirming district court’s dismissal
13   of FTCA action and noting that language in 28 U.S.C. § 2675(a) requiring the
14   exhaustion of administrative remedies “is unambiguous. We are not free to rewrite the
15   statutory text”); Brady v. United States, 211 F.3d 499, 502 (9th Cir. 2000) (affirming
16   district court’s dismissal of a FTCA action and noting “[t]he requirement of an
17   administrative claim is jurisdictional. Because the requirement is jurisdictional, it must
18   be strictly adhered to. This is particularly so since the FTCA waives sovereign
19   immunity. Any such waiver must be strictly construed in favor of the United States”)
20   (citations and internal quotation marks omitted); Vacek v. U.S. Postal Serv., 447 F.3d
21   1248, 1250 (9th Cir. 2006) (affirming the district court’s dismissal of a FTCA action for
22   lack of subject matter jurisdiction, and noting “[w]e have repeatedly held that the
23   exhaustion requirement is jurisdictional in nature and must be interpreted strictly[]”).
24   In addition, and as mentioned in Section IIIA above, the burden of establishing subject
25   matter jurisdiction rests upon plaintiffs as the party invoking it. DaimlerChrysler Corp.,
26   547 U.S. at 342 n.3 (2006).
27   ///
28   ///
                                                  11
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 1         In addition, the Supreme Court noted in McNeil, 508 U.S. at 112:
 2         Congress intended to require complete exhaustion of Executive remedies
 3         before invocation of the judicial process. Every premature filing of an
 4         action under the FTCA imposes some burden on the judicial system and on
 5         the Department of Justice which must assume the defense of such actions.
 6         Although the burden may be slight in an individual case, the statute governs
 7         the processing of a vast multitude of claims. The interest in orderly
 8         administration of this body of litigation is best served by adherence to the
 9         straightforward statutory command.
10         Furthermore, the exhaustion requirement cannot be cured by amendment relative
11   to a premature FTCA complaint, such as plaintiffs’ complaint here. Subject matter
12   jurisdiction “depends upon the state of things at the time of the action brought.” In re
13   Digimarc Corp. Derivative Litig., 549 F.3d 1223, 1236 (9th Cir. 2008) (citation omitted).
14   Accord, Morongo Band of Mission Indians v. Cal. State Bd. Of Equalization, 858 F.2d
15   1376, 1380 (9th Cir. 1988) (“In determining federal court jurisdiction, we look to the
16   original, rather than to the amended, complaint. Subject matter jurisdiction must exist as
17   of the time the action is commenced”) (citations omitted); Nero v. Ives, 2014 WL
18   3347529, *6 (C.D. Cal. May 27, 2014) (“When a civil action is filed before the FTCA
19   administrative claim has been denied, the court has no jurisdiction and the claim must be
20   dismissed. Lack of subject matter jurisdiction cannot be cured by amending a defective
21   complaint”) (citations omitted). Indeed, permitting a plaintiff to file an amended
22   complaint to cure the jurisdictional defect would impose an unnecessary burden on the
23   judicial system, and would render the exhaustion requirement meaningless. Sparrow v.
24   U.S. Postal Serv., 825 F. Supp. 252, 255 (E.D. Cal. 1993) (“If the claimant is permitted
25   to bring suit prematurely and simply amend his complaint after denial of the
26   administrative claim, the [FTCA’s] exhaustion requirement would be rendered
27   meaningless”).
28   ///
                                                 12
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 1         Plaintiffs have not presented an administrative tort claim to the FBI for the
 2   allegedly missing coins, meaning that the FBI could not have issued any final denial of
 3   any such claim. Accordingly, plaintiffs’ second cause of action brought pursuant to the
 4   FTCA should be dismissed for lack of subject matter jurisdiction.
 5         E.     Plaintiffs’ Fourth Cause Of Action For Order Disclosing Inventory
 6                Fails To State A Claim Upon Which Relief Can Be Granted.
 7         Plaintiffs’ fourth cause of action is titled as a cause of action “for order disclosing
 8   video inventory pursuant to Fed. R. Crim. P. 41(f) and the Court’s inherent power.”
 9   Plaintiffs cause of action fails for multiple reasons.
10         First, the request for an order for production of an inventory, even if such an order
11   were proper, would be akin to an remedy like an injunction and is therefore not a stand-
12   alone cause of action that would support a claim for relief. Therefore, a Fed. R. Civ. P.
13   12(b)(6) motion to dismiss for failure to state a claim is properly granted as to plaintiffs’
14   request for the order. Jensen v. Quality Loan Serv. Corp., 702 F. Supp. 2d 1183, 1201
15   (E.D. Cal. 2010) (dismissing plaintiff’s claim for injunctive relief without leave to
16   amend, and noting “[a] request for injunctive relief by itself does not state a cause of
17   action . . . An injunction is a remedy, not a separate claim or cause of action”); Silver
18   State Broad, LLC v. Beasley FM Acquisition Corp., 2012 WL 4049481, *3 (D. Nev.
19   Sept. 12, 2012) (“the Court dismisses Plaintiffs’ Claim[] . . . 5 (injunctive relief) . . . as
20   these ‘claims’ are not recognized causes of action but are rather remedies. Under Rule
21   12(b)(6), a request for a specific remedy is not sufficient to state a claim upon which
22   relief can be granted”) (internal quotation marks and citation omitted);
23         Second, Fed. R. Crim. P. 41 does not support plaintiffs’ cause of action. As
24   support for this cause of action, plaintiffs cite Fed. R. Crim. P. 41(f)(1)(D) and quote the
25   language therefrom that “[t]he judge must, on request, give a copy of the inventory to the
26   person from whom, or from whose premises, the property was taken and to the applicant
27
28
                                                    13
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 1   for the warrant.” Docket No. 1 (complaint ¶ 97).7 Plaintiffs misinterpret the scope of
 2   Fed. R. Crim. P. 41, which by its terms governs search warrants and how they are
 3   obtained and executed. See Frazier v. Roberts, 441 F.2d 1224, 1230 n.2 (8th Cir. 1971)
 4   (“Rule 41[] governs issuance of search warrants”). However, Fed. R. Crim. P. 41 is not
 5   applicable to inventories, which is how the government obtained the contents of
 6   plaintiffs’ box at USPV.
 7         With respect to search warrants, Fed. R. Crim. P. 41(f)(1)(C) requires officers
 8   executing a warrant to leave a receipt for the items taken, called an “inventory,” with the
 9   person from whom or from whose premises the property was taken, or leave it at the
10   place where the officer took the property. Officers executed the search warrant at USPV
11   and properly left behind an “inventory” indicating, among other things, they had seized
12   USPV’s nests of safe deposit boxes. When the nests of safe deposit boxes were seized,
13   there were no search warrants for any individual safe deposit boxes (such as plaintiffs’
14   box), and therefore no requirement under Fed. R. Crim. P. 41 that any “inventory” for
15   them be produced or served.
16         In contrast to a search warrant, “an inventory search is a routine administrative
17   procedure designed to effect three distinct purposes: protection of the owner's property . .
18   . ; protection of the police against claims of lost, stolen or vandalized property; and
19   protection of the police from potential danger.” United States v. Lugo, 978 F.2d 631,
20   636 (10th Cir. 1992) (citing South Dakota v. Opperman, 428 U.S. 364, 369 (1975)). No
21   court has ever held that Fed. R. Crim. P. 41 governs administrative inventory searches,
22   which would be nonsensical because there is no warrant or affidavit for an inventory
23   search, and therefore nothing to “obtain” or “execute.” “[I]nventory searches are . . . a
24   ///
25         7
             The title of the fourth cause of action provides that it is based on Rule 41(f) and
26   the Court’s inherent power, but plaintiffs provide no support for their reliance on the
     Court’s inherent power to support their claim. In addition, Rule 41(f)(1)(D) pertains to
27   inventories filed with Magistrate Judges together with returns on executed search
     warrants, and authorizes Magistrate Judges to provide a copy of those documents that
28   have been filed with the Magistrate Judge to persons identified in the statute. The statute
     does not deal with the required substance of those documents.
                                                   14
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 1   well-defined exception to the warrant requirement of the Fourth Amendment.” Colorado
 2   v. Bertine, 479 U.S. 367, 371 (1987) (citations omitted).
 3         Rule 41 does not govern inventory searches as to the items recovered from the
 4   inventory, which is an administrative function involving the inventorying process
 5   Because plaintiffs’ individual safe deposit box was searched administratively, rather than
 6   pursuant to a criminal search warrant, the procedural requirements of Fed. R. Crim. P. 41
 7   do not apply. Accordingly, for this reason as well, plaintiffs’ fourth cause of action
 8   should be dismissed because it fails to state a claim upon which relief can be granted.
 9                                               IV.
10                                        CONCLUSION
11         For the foregoing reasons, the government respectfully requests that its motion be
12   granted.
13   Dated: December 2, 2021                       Respectfully submitted,
14                                                 TRACY L. WILKISON
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15                                                 SCOTT M. GARRINGER
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21                                                 TRACY L. WILKISON and KRISTI
                                                   KOONS JOHNSON IN THEIR OFFICIAL
22                                                 CAPACITY ONLY
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24
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